      Case 4:21-mc-80181-JST Document 3 Filed 07/30/21 Page 1 of 16



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 8

 9
                                 UNITED STATES DISTRICT COURT
10
                                NORTHERN DISTRICT OF CALIFORNIA
11
                                      SAN FRANCISCO DIVISION
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13
     JONES DAY,                                 Case No.
14
                           Petitioner,          JONES DAY’S MOTION TO COMPEL
15                                              COMPLIANCE WITH ARBITRATION
            v.                                  SUMMONSES AND SUPPORTING
16                                              MEMORANDUM
     ORRICK HERRINGTON & SUTCLIFFE,
17   LLP, MICHAEL TORPEY, AND
     MITCHELL ZUKLIE,
18
                       Respondents.
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                   REDACTED VERSION OF DOCUMENT SOUGHT TO BE
22                                  SEALED
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                                                                      Motion to Compel
                                                                      Case No. _______
       Case 4:21-mc-80181-JST Document 3 Filed 07/30/21 Page 2 of 16



 1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 2          PLEASE TAKE NOTICE THAT on August 27, 2021, 1 at a time to be determined by the

 3   Court, or as soon thereafter as counsel may be heard, in a Courtroom to be assigned, in the United

 4   States District Court, Northern District of California, San Francisco Division, located at 450

 5   Golden Gate Avenue, San Francisco, California, Jones Day shall and hereby does move the Court

 6   for an order, pursuant to 9 U.S.C. §§ 7 and 208, compelling respondents Orrick Herrington &

 7   Sutcliffe LLP (“Orrick”), Michael Torpey, and Mitchell Zuklie (together “Respondents”) to

 8   attend a hearing before the duly appointed arbitrator in a pending arbitration.

 9          Jones Day is currently party to an ongoing international arbitration,

10

11                                                    On June 16, 2021, the Arbitrator issued

12   summonses to the three Respondents, ordering them to appear before him as witnesses at a

13   hearing in San Jose, California on July 26, 2021, and to bring with them specified documents.

14   Respondents have refused to comply with the summonses. Jones Day therefore requests that this

15   Court order each Respondent to appear before the Arbitrator at a rescheduled hearing on

16   September 13, 2021, and to bring with them the documents specified in the summonses.

17          This motion is supported by the following points and authorities, as well as the

18   Declaration of Christopher Thatch in Support of Jones Day’s Motion to Compel (“Thatch Decl.”)

19   and the exhibits thereto.

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              Jones Day is separately moving for an order shortening time to permit the hearing to be
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     held on August 27, 2021.
                                                                                         Motion to Compel
                                                                                         Case No. _______
                                                     -i-
           Case 4:21-mc-80181-JST Document 3 Filed 07/30/21 Page 3 of 16



 1                                                      TABLE OF CONTENTS

 2
     INTRODUCTION ........................................................................................................................... 1
 3
     FACTUAL BACKGROUND .......................................................................................................... 2
 4

 5   ARGUMENT ................................................................................................................................... 5

 6   I.        THIS COURT HAS PERSONAL JURISDICTION OVER EACH
               RESPONDENT. ................................................................................................................... 5
 7
     II.       THIS COURT HAS SUBJECT-MATTER JURISDICTION. ............................................ 6
 8
     III.      THE FAA EMPOWERS THE ARBITRATOR TO SUMMON RESPONDENTS
 9             TO APPEAR BEFORE HIM AND BRING DOCUMENTS. ............................................. 8
10
     CONCLUSION .............................................................................................................................. 10
11

12

13

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15

16

17

18

19

20

21

22

23

24

25

26

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28
                                                                                                                             Motion to Compel
                                                                                                                             Case No. _______
                                                                         - ii -
         Case 4:21-mc-80181-JST Document 3 Filed 07/30/21 Page 4 of 16



 1                                                      TABLE OF AUTHORITIES
 2                                                                                                                                                Page
 3
     CASES
 4
     Balen v. Holland Am. Line Inc.,
 5      583 F.3d 647 (9th Cir. 2009).......................................................................................................7
 6
     Belize Soc. Dev. Ltd. v. Gov’t of Belize,
 7       794 F.3d 99 (D.C. Cir. 2015) ......................................................................................................6
 8   China Auto Logistics, Inc. v. DLA Piper,
 9      LLP, 2021 WL 830189 (D. Nev. Mar. 3, 2021) .........................................................................6

10   CVS Health Corp. v. Vividus, LLC,
       878 F.3d 703 (9th Cir. 2017).......................................................................................................9
11

12   Ford Motor Co. v. Montana Eighth Jud. Dist. Ct.,
        141 S. Ct. 1017 (2021) ................................................................................................................5
13
     In re Packaged Seafood Prod. Antitrust Litig.,
14
         338 F. Supp. 3d 1118 (S.D. Cal. 2018) .......................................................................................5
15
     Maine Cmty. Health Options v. CVS Pharmacy, Inc.,
16      No. CV 20-10JJM, 2020 WL 1130057 (D.R.I. Mar. 9, 2020) ..................................................10
17
     Matter of Arb. between Tang Energy Grp., LTD v. Catic U.S.A.,
18      No. 3:15-MC-80209-LB, 2015 WL 4692459, at *2 (N.D. Cal. Aug. 6, 2015) ..........................8

19   Rogers v. Royal Caribbean Cruise Line,
20      547 F.3d 1148 (9th Cir. 2008).....................................................................................................6

21   Seaton Ins. Co. v. Cavell USA,
        2007 WL 9657277 (D. Conn. Mar. 21, 2007).............................................................................9
22

23   Stemcor USA Inc. v. CIA Siderurgica
        do Para Cosipar, 927 F.3d 906 (5th Cir. 2019) ..........................................................................8
24
     STATUTES
25
     1 U.S.C. § 1 .......................................................................................................................................9
26

27   9 U.S.C. § 7 ............................................................................................................................. passim

28   9 U.S.C. § 7 .......................................................................................................................................1
                                                                                                                                   Motion to Compel
                                                                                                                                   Case No. _______
                                                                           - iii -
         Case 4:21-mc-80181-JST Document 3 Filed 07/30/21 Page 5 of 16



 1   9 U.S.C. §§ 201–208 .....................................................................................................................1, 8
 2   9 U.S.C. § 202 ...................................................................................................................................6
 3
     9 U.S.C. § 203 ...............................................................................................................................6, 8
 4
     9 U.S.C. § 206 ...................................................................................................................................8
 5
     9 U.S.C. § 208 ...................................................................................................................................7
 6

 7   Federal Arbitration Act, 9 U.S.C. § 1 et seq .....................................................................................1

 8   OTHER AUTHORITIES
 9   JAMS Rule 19(c) ............................................................................................................................10
10
     JAMS Rule 21 .................................................................................................................................10
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                                                                                                                                 Motion to Compel
                                                                                                                                 Case No. _______
                                                                           - iv -
        Case 4:21-mc-80181-JST Document 3 Filed 07/30/21 Page 6 of 16



 1                                           INTRODUCTION

 2          This motion is necessitated by Respondents’ refusal to obey arbitration summonses

 3   lawfully issued under the Federal Arbitration Act, 9 U.S.C. § 1 et seq (the “FAA”). Jones Day is

 4   the claimant in an international arbitration

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 7                         To obtain information relevant to its arbitration claims, Jones Day

 8   requested, and the Arbitrator issued, summonses to the three Respondents—Orrick, the firm at

 9   which Mr. Bühler is now a partner; Mr. Zuklie, Orrick’s Chairman; and Mr. Torpey, Orrick’s

10   Special Assistant to the Chairman and former Managing Partner. The Summonses required

11   Respondents to appear as witnesses before the Arbitrator at a hearing at the JAMS facility in San

12   Jose, California on July 26, 2021, and to bring with them specified documents. The Arbitrator

13   was authorized to issue the summonses by FAA sections 7 and 208.

14          Respondents notified Jones Day in writing on July 15, 2021, that they would not comply

15   with the Summonses. None of the Respondents contended that they were unable to appear at the

16   July 26 hearing or to bring with them the required documents. They asserted only that they were

17   under no obligation to comply with the Summonses. In light of Respondents’ refusal to appear on

18   July 26, the Arbitrator has agreed to schedule a further hearing to take Respondents’ testimony

19   and receive their documents on September 13, 2021 at a place within California to be coordinated

20   by the parties.

21          In recent correspondence regarding the September 13 hearing date, Respondents’ counsel

22   continues to assert that Respondents have no legal obligation to comply with the Summonses and,

23   on that basis, has indicated that they will not attend the hearing scheduled for September 13th.

24   Respondents’ continued refusal to comply with the Summonses is at odds with the provisions of

25   the FAA, which expressly authorize the Arbitrator to summon persons to appear before him as a

26   witness and bring documents with them. 9 U.S.C. § 7. The FAA further authorizes federal courts

27   to compel compliance with such summonses, or to punish the non-complying summoned party

28   for contempt. Id. Given the impending date of the final merits hearing in the Arbitration,
                                                                                         Motion to Compel
                                                                                         Case No. _______
                                                     -1-
        Case 4:21-mc-80181-JST Document 3 Filed 07/30/21 Page 7 of 16



 1   Respondents’ continued obstruction threatens to undermine Jones Day’s ability to present its case

 2   in the Arbitration and the Arbitrator’s ability to fully and fairly resolve the claims at issue. The

 3   Court should therefore exercise the power granted to it by the FAA and order Respondents to

 4   appear before the Arbitrator on September 13, bringing with them the required documents, or else

 5   face sanctions for contempt. 2

 6                                      FACTUAL BACKGROUND

 7          Jones Day is a general partnership engaged in the practice of law. It is based in the United

 8   States with offices in countries throughout the world. Respondent Orrick is a limited liability

 9   partnership engaged in the practice of law, organized and existing under the laws of the State of

10   California with its principal place of business at 405 Howard Street, San Francisco, California.

11   Respondent Mr. Zuklie is Orrick’s Chairman and a California resident, whose principal place of

12   business is also 405 Howard Street, San Francisco, California. Respondent Mr. Torpey is

13   Orrick’s Special Assistant to the Chairman and former Managing Partner and a resident of

14   California, whose principal place business is Orrick’s offices at 1000 Marsh Road, Menlo Park,

15   California.

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               Jones Day believes that this motion is the proper procedural vehicle for seeking to
23   compel compliance with an arbitration summons (or a judicial summons issued in connection
     with a case in another district). However, in pre-filing correspondence, Respondent’s counsel
24
     asserted that Jones Day must file, in addition to its motion, a separate petition to initiate the case,
25   and counsel refused to accept service on behalf of Respondents unless Jones Day proceeded by
     way of a petition. To avoid any dispute over the issue, Jones Day is filing a separate petition
26   contemporaneously with this motion. By filing the petition, Jones Day does not agree that the
     petition is necessary. Nor does it agree that the filing of the petition should result in any different
27   procedure for briefing or ruling on the motion to compel. Jones Day requests that the Court
     consider Jones Day’s motion on the schedule set out in Jones Day’s Motion to Shorten Time,
28
     which Jones Day is also filing contemporaneously
                                                                                            Motion to Compel
                                                                                            Case No. _______
                                                      -2-
       Case 4:21-mc-80181-JST Document 3 Filed 07/30/21 Page 8 of 16



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23                    After considering Jones Day’s request, the Arbitrator issued a subpoena to

24   Orrick on September 23, 2020 ordering it to appear before him at a virtual hearing on October 22,

25   2020, and to produce specified documents at that time. Id., Ex. C. Orrick accepted service of that

26   subpoena on September 30, 2020. Id., Ex. D. The subpoena invited Orrick to address any

27   applications to quash or modify the subpoena to the Arbitrator, but Orrick made no such

28   objections. Id. ¶ 10. Instead, two days before the scheduled hearing Orrick told Jones Day that it
                                                                                        Motion to Compel
                                                                                        Case No. _______
                                                    -3-
       Case 4:21-mc-80181-JST Document 3 Filed 07/30/21 Page 9 of 16



 1   would not be complying with the subpoena. Id. ¶ 10.

 2            On November 25, 2020, Jones Day filed a petition to enforce the Arbitrator’s subpoena in

 3   the Superior Court of the District of Columbia (the “D.C. Court”). Id. ¶ 11. On February 5,

 4   2021, Orrick moved to dismiss that petition, arguing, among other things, that the D.C. Court

 5   lacked personal jurisdiction over Orrick and that, under the FAA, an arbitral summons can be

 6   enforced only in federal court. Id. On May 14, 2021, the D.C. Court issued an order agreeing

 7   that it lacked personal jurisdiction over Orrick

 8                                                                                                     Id.,

 9   Ex. E.

10            In light of the D.C. Court’s ruling, Jones Day requested that the Arbitrator issue a revised

11   summons requiring that Orrick appear before him at a location within the Northern District of

12   California where Orrick’s headquarters are located. Id. ¶ 13. Jones Day also requested that the

13   Arbitrator issue summonses to Mr. Torpey and Mr. Zuklie, who work at Orrick’s San Francisco,

14   California and Menlo Park, California offices respectively, requiring them to appear at the same

15   hearing as Orrick. Id.

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19                                                                                .

20            On June 16, 2021, the Arbitrator issued the requested Summonses. Id., Exs. F, G and H.

21   The Summonses ordered Respondents to appear before the Arbitrator at a hearing on July 26,

22   2021 at the JAMS facility in San Jose, California, and to bring with them certain specified

23   documents. Id. One month later, on July 15, 2021, Respondents, through Orrick’s General

24   Counsel, informed Jones Day that Respondents did not view the Summonses as authorized under

25   the FAA and that they therefore would not comply with them. Id., Ex. I. The General Counsel

26   asserted that the FAA does “not authorize the arbitrator to summon legal entities (like Orrick) to

27   give testimony, nor compel attendance at hearings across the country. The seat of the arbitration

28   does not travel with the arbitrator; it is fixed by the arbitration agreement. In this case, Jones Day
                                                                                           Motion to Compel
                                                                                           Case No. _______
                                                        -4-
          Case 4:21-mc-80181-JST Document 3 Filed 07/30/21 Page 10 of 16



 1   selected Washington, D.C.” Id. In other words, in Respondents’ view, the only place they could

 2   be subpoenaed to give testimony (and the only place where the courts would have authority to

 3   compel compliance with that subpoena) is Washington D.C., where Respondents refused to

 4   appear and where they claim the courts lack personal jurisdiction over them. As the arbitrator

 5   aptly observed, “Orrick’s position presents Jones Day with a Catch 22. Orrick posits that

 6   personal jurisdiction over it is lacking in Washington, D.C. Orrick also posits that the FAA

 7   authorizes the Arbitrator to compel Orrick’s attendance only in Washington, D.C.” Id., Ex. I.

 8                In a Scheduling Order dated July 19, 2021, at Jones Day’s request, the Arbitrator

 9   provided a later date at which he could be present in California to hold a hearing to take

10   Respondents’ testimony: September 13, 2021. Id., Ex. J.3 Jones Day has corresponded with

11   Respondents, through their counsel, and has been informed that Respondents will continue to

12   defy the Arbitrator’s subpoena and will not attend the September 13 hearing. Id. ¶ 19.

13

14           Thus, if Respondents do not promptly comply with the Summonses, that merits hearing

15   may close without the Arbitrator having been provided with evidence material to Jones Day’s

16   claims, thus prejudicing Jones Day’s ability to present its case.

17                                                ARGUMENT

18   I.       THIS COURT HAS PERSONAL JURISDICTION OVER EACH RESPONDENT.

19            A court has general personal jurisdiction over a defendant to hear any and all claims

20   against it where the defendant is “essentially at home” in the forum state. Ford Motor Co. v.

21   Montana Eighth Jud. Dist. Ct., 141 S. Ct. 1017, 1024 (2021) (quoting Goodyear Dunlop Tires

22   Operations, S. A. v. Brown, 564 U.S. 915, 919 (2011)). “An individual is subject to general

23   jurisdiction in her place of domicile . . . And the ‘equivalent’ forums for a corporation are its

24   place of incorporation and principal place of business” Id. (quoting Daimler AG v. Bauman, 571

25   U.S. 117, 137 (2014)). That same standard is generally applicable to non-corporate business

26   entities, such as limited liability partnerships. See, e.g. In re Packaged Seafood Prod. Antitrust

27            3
              In that Procedural Order, the Arbitrator invited Jones Day to submit revised Summonses
     ordering Respondents’ appearance at the revised September 13, 2021 hearing date. Id., Ex. J at 3.
28
     Jones Day has done so and is awaiting issuance of those revised Summonses. Id. ¶ 17.
                                                                                            Motion to Compel
                                                                                            Case No. _______
                                                       -5-
       Case 4:21-mc-80181-JST Document 3 Filed 07/30/21 Page 11 of 16



 1   Litig., 338 F. Supp. 3d 1118, 1139, n. 13 (S.D. Cal. 2018) (applying Daimler’s “place of

 2   organization and principal place of business paradigm” to a limited liability partnership); China

 3   Auto Logistics, Inc. v. DLA Piper, LLP, 2021 WL 830189, at *4 (D. Nev. Mar. 3, 2021) (same).

 4          Here, both Mr. Zuklie and Mr. Torpey reside in California. The Court therefore has

 5   general jurisdiction over both. Orrick’s place of organization is California and its principal place

 6   of business is in San Francisco, California. Accordingly, the Court also has general jurisdiction

 7   over Orrick.

 8   II.    THIS COURT HAS SUBJECT-MATTER JURISDICTION.

 9          The Court has subject-matter jurisdiction over this motion because it seeks to enforce the

10   power of an arbitrator in an international arbitration covered by Chapter 2 of the FAA to order

11   persons to appear before him pursuant to that Act. Chapter 2, Section 203 of the FAA provides

12   that “[a]n action or proceeding falling under the [Convention on the Recognition and

13   Enforcement of Foreign Arbitral Awards of June 10, 1958, (the “New York Convention”)] shall

14   be deemed to arise under the laws and treaties of the United States,” and “[t]he district courts of

15   the United States . . . shall have original jurisdiction over such an action or proceeding, regardless

16   of the amount in controversy.” 9 U.S.C. § 203.

17          For purposes of the FAA, “[a]n arbitration agreement . . . arising out of a legal

18   relationship, whether contractual or not, which is considered as commercial . . . falls under the

19   [New York] Convention,” provided the relationship is not “entirely between citizens of the

20   United States,” or that it “has some other reasonable relation with one or more foreign states.”

21   9 U.S.C. § 202. Agreements considered as commercial “include, but are not limited to contracts

22   evidencing a transaction involving commerce to settle by arbitration a controversy thereafter

23   arising out of such contract . . . includ[ing] employment contracts.” Rogers v. Royal Caribbean

24   Cruise Line, 547 F.3d 1148, 1154 (9th Cir. 2008) (internal quotation marks and citations

25   omitted); see also Belize Soc. Dev. Ltd. v. Gov’t of Belize, 794 F.3d 99, 103–04 (D.C. Cir. 2015)

26   (“In the context of international arbitration, ‘commercial’ refers to ‘matters or relationships,

27   whether contractual or not, that arise out of or in connection with commerce.’”) (quoting

28   Restatement (Third) of U.S. Law of Int'l Comm. Arbitration § 1–1 (2012)).
                                                                                           Motion to Compel
                                                                                           Case No. _______
                                                      -6-
       Case 4:21-mc-80181-JST Document 3 Filed 07/30/21 Page 12 of 16



 1          Thus, in determining whether an arbitration agreement falls under the New York

 2   Convention, courts look to whether the arbitration agreement satisfies four factors: “(1) there is

 3   an agreement in writing within the meaning of the Convention; (2) the agreement provides for

 4   arbitration in the territory of a signatory of the Convention; (3) the agreement arises out of a legal

 5   relationship, whether contractual or not, which is considered commercial; and (4) a party to the

 6   agreement is not an American citizen, or that the commercial relationship has some reasonable

 7   relation with one or more foreign states.” Balen v. Holland Am. Line Inc., 583 F.3d 647, 654–55

 8   (9th Cir. 2009). The Arbitration Agreement between Jones Day                        meets each of

 9   those four factors. The Arbitration Agreement is in writing. Thatch Decl., Ex. A. It provides for

10   arbitration in the United States, which is a signatory of the Convention. Id., Art. 14.3(e);

11   Convention on the Recognition and Enforcement of Foreign Arbitral Awards, at 2560, Dec. 11.

12   1970, 21 U.S.T. 2517, 330 U.N.T.S. 3 (1958). The relationship between Jones Day and

13               was commercial in nature,

14                         Thatch Decl. ¶¶ 2-3.                                                  Id. ¶ 3.

15   The Arbitration Agreement therefore falls under the New York Convention and within the scope

16   of Chapter 2 of the FAA.

17          Chapter 2 of the FAA expressly incorporates the provisions of Chapter 1 of the FAA, so

18   long as those provisions are not in conflict with the New York Convention. 9 U.S.C. § 208

19   (“Chapter 1 applies to actions and proceedings brought under this chapter to the extent that

20   chapter is not in conflict with this chapter or the Convention as ratified by the United States.”).

21   Chapter 1 of the FAA includes 9 U.S.C. § 7, which empowers arbitrators to summon witnesses to

22   appear at a hearing before them and authorizes federal district courts in the district in which the

23   arbitrator is sitting to compel compliance. Nothing in the New York Convention precludes an

24   arbitrator sitting pursuant to an agreement covered by the New York Convention from

25   summoning a witness to appear before the arbitrator at a hearing or a district court from

26   compelling compliance. Cf. New York Convention, Dec. 11. 1970, 21 U.S.T. 2517, 330 U.N.T.S.

27   3 (1958). The provisions of 9 U.S.C. § 7 are therefore incorporated within Chapter 2 of the FAA

28   and apply to actions in respect to agreements falling under the New York Convention like the
                                                                                           Motion to Compel
                                                                                           Case No. _______
                                                      -7-
       Case 4:21-mc-80181-JST Document 3 Filed 07/30/21 Page 13 of 16



 1   Arbitration Agreement. 4 This motion seeks to enforce the Arbitrator’s authority under those

 2   provisions of the FAA to issue the Summonses and thus is properly within the subject-matter

 3   jurisdiction of this Court. See Matter of Arb. between Tang Energy Grp., LTD v. Catic U.S.A.,

 4   No. 3:15-MC-80209-LB, 2015 WL 4692459, at *2 (N.D. Cal. Aug. 6, 2015) (noting movant’s

 5   assertion that “the court has subject-matter jurisdiction over this matter because the underlying

 6   arbitration ‘falls under’ the [New York Convention], which is implemented through Chapter Two

 7   of the FAA, 9 U.S.C. §§ 201–208” and stating that “9 U.S.C. § 203, in turn, provides that ‘[a]n

 8   action or proceeding falling under the Convention shall be deemed to arise under the laws and

 9   treaties of the United States,’ thus providing this court with jurisdiction.”); Stemcor USA Inc. v.

10   CIA Siderurgica do Para Cosipar, 927 F.3d 906, 909 (5th Cir. 2019) (holding that, for a federal

11   court to have jurisdiction under Chapter 2 of the FAA, “two requirements must be met: (1) there

12   must be an arbitration agreement or award that falls under the Convention, and (2) the dispute

13   must relate to that arbitration agreement,” where “relates to . . . mean[s] has some connection, has

14   some relation, [or] has some reference to”) (internal quotes omitted).

15   III.   THE FAA EMPOWERS THE ARBITRATOR TO SUMMON RESPONDENTS TO

16          APPEAR BEFORE HIM AND BRING DOCUMENTS.

17          The FAA broadly authorizes “arbitrators selected either as prescribed in [the FAA] or

18   otherwise, or a majority of them,” to “summon in writing any person to attend before them or any

19   of them as a witness and in a proper case to bring with him or them any book, record, document,

20   or paper which may be deemed material as evidence in the case.” 9 U.S.C. § 7. That is precisely

21   what the Arbitrator did in the Summonses: he summoned each of Respondents to attend before

22   him as a witness and bring certain documents with them.

23          In refusing to comply with the Summonses, Respondents have asserted without citation or

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25             Moreover, section 206 of the FAA empowers courts under Chapter 2 to “direct that
     arbitration be held in accordance with the agreement.” 9 U.S.C. § 206. As explained in section
26   III.C, infra, the Arbitration Agreement specifies that the FAA and the JAMS Rules are to govern
     the Arbitration, both of which authorize the Arbitrator to order a third party to provide testimony
27   and documents at a hearing. The incorporation of 9 U.S.C. § 7 into Chapter 2, and its application
     by the Court in this action, is therefore necessary and appropriate to ensure that the arbitration is
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     held “in accordance” with the Arbitration Agreement.
                                                                                           Motion to Compel
                                                                                           Case No. _______
                                                     -8-
       Case 4:21-mc-80181-JST Document 3 Filed 07/30/21 Page 14 of 16



 1   authority that the Arbitration Agreement “did not authorize the arbitrator to summon legal entities

 2   (like Orrick) to give testimony, nor compel attendance at hearings across the country.” Thatch

 3   Decl., Ex. I. That is incorrect.

 4          The Arbitration Agreement

 5

 6                                              The FAA authorizes the Arbitrator to summon “any

 7   person”—including a third party—to appear before him at a hearing. 9 U.S.C. § 7 (emphasis

 8   added); see also CVS Health Corp. v. Vividus, LLC, 878 F.3d 703, 706 (9th Cir. 2017) (“The

 9   FAA gives arbitrators two powers that are relevant here. First, arbitrators may compel the

10   attendance of a person ‘to attend before them ... as a witness,’ and second, arbitrators may compel

11   such person ‘to bring with him or them’ relevant documents.”) 5 Nothing in that authorization

12   limits an arbitrator’s power to natural, rather than juridical, persons. To the contrary, Congress

13   has been explicit that “[i]n determining the meaning of any Act of Congress, unless the context

14   indicates otherwise . . . the words ‘person’ and ‘whoever’ include corporations, companies,

15   associations, firms, partnerships, societies, and joint stock companies, as well as individuals.”

16   1 U.S.C. § 1.

17          Nor does that grant of authority (1) limit where arbitrators may convene a hearing for the

18   purpose of obtaining testimony and documents from third parties or (2) limit the power of a

19   federal court for the district where the hearing is held to compel compliance with a summons to

20   appear. See, e.g., Seaton Ins. Co. v. Cavell USA, 2007 WL 9657277, at *2-4 (D. Conn. Mar. 21,

21   2007) (ordering third parties to attend a specially convened hearing in Connecticut to provide

22   testimony and produce documents and noting that “[t]he fact that the location of the arbitration

23   hearing will be held at a location other than the one designated by the arbitration agreement does

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            5
25            In CVS Health, the Ninth Circuit held that an arbitrator’s power under the FAA “to
     compel the production of documents is limited to production at an arbitration hearing.” CVS
26   Health, 878 F.3d at 706. There, the subpoena required a third party to produce documents to the
     offices of counsel for one of the parties in advance of a hearing and was therefore held invalid
27   under the FAA. Id. at 705–06. In contrast, the Summonses order Respondents to appear at a
     hearing and to bring the required documents with them, consistent the authority acknowledged in
28
     CVS Health. Thatch Decl., Exs. F, G, H.
                                                                                           Motion to Compel
                                                                                           Case No. _______
                                                     -9-
         Case 4:21-mc-80181-JST Document 3 Filed 07/30/21 Page 15 of 16



 1   not have any bearing on the propriety of the subpoenas issued pursuant to section 7” of the FAA).

 2           The Arbitration Agreement further specifies

 3                                                      Thatch Decl., Ex. A, Annex D. JAMS Rule 21

 4   authorizes the Arbitrator to “issue subpoenas for the attendance of witnesses or the production of

 5   documents either prior to or at the Hearing pursuant to this Rule or Rule 19(c).” Thatch Decl.,

 6   Ex. B, Rule 21. Rule 19(c) provides that the Arbitrator, “in order to hear a third-party witness, or

 7   for the convenience of the Parties or the witnesses, may conduct the Hearing at any location.”

 8   Id., Rule 19(c) (emphasis added).

 9           Both the FAA and the JAMS Rules therefore empower the Arbitrator to order

10   Respondents to appear before him in California and to bring documents with them. Respondents’

11   assertion to the contrary is pure gamesmanship: having successfully argued to the D.C. Court that

12   they cannot be compelled to attend a hearing before the Arbitrator in D.C. for want of personal

13   jurisdiction there, they now argue that they cannot be compelled to attend a hearing in California,

14   where they indisputably are at home and subject to personal jurisdiction. The Arbitrator has

15   noted the contrived nature of Respondents’ positions, aimed solely at frustrating Jones Day’s

16   right to obtain information from them, observing that “Orrick’s position presents Jones Day with

17   a Catch 22” and that “Orrick will not produce documents until it has exhausted all avenues of

18   resistance.” Thatch Decl., Ex. J. That gamesmanship must not be countenanced. Respondents

19   should be ordered to comply with the Summonses. 6

20                                            CONCLUSION

21           For the foregoing reasons, Jones Day respectfully requests that its Motion to Compel be

22   granted and that Respondents be ordered to attend a hearing before the Arbitrator on

23   September 13, 2021 and to bring with them the documents specified in the Summonses.

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25     Orrick’s general counsel offered no other objection to the summonses. And no other basis for
     objection exists. In the enforcement action in D.C. Court, Orrick suggested it may challenge the
26   summonses on the ground that the evidence they seek is not material. But “courts uniformly
     construe the FAA as empowering the arbitration panel – and not the courts – to assess what is
27   material to the arbitration dispute.” Maine Cmty. Health Options v. CVS Pharmacy, Inc., No. CV
     20-10JJM, 2020 WL 1130057, at *4 (D.R.I. Mar. 9, 2020). Respondents are thus required to
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     raise any materiality objections before the Arbitrator, not in this Court.
                                                                                          Motion to Compel
                                                                                          Case No. _______
                                                    - 10 -
     Case 4:21-mc-80181-JST Document 3 Filed 07/30/21 Page 16 of 16



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 2   Dated: July 30, 2021                  Respectfully submitted,
 3                                         /s/ David C. Kiernan
                                            David C. Kiernan
 4                                          JONES DAY
 5                                          Attorneys for JONES DAY
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